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Chandrea T. Agnew

 

 

 

 

 

 

 

135 Fenway Drive
JAN 1 3 2013 syracuse NY 13224
United States District Court
Northem otsttt¢t or New York sr___.D‘l`»\-OC“.____--
100 south clinton street W*Wm“""“
F.O. Box 7367

Syracuse NY 13261
Dear Main President: (To Judges Gary L. Sharpe and .Iudge Andrew T. Baxter)

| recently wrote a letter to the United States District Court about erasing and
removing court papers against my relatives. t still want these court papers and
case erased and removed ott your record against my relatives. 1 had filed a
case against Dianne Randali, Katrina Thomas, Ny|dsha Gi|es, 'Shaakira Gi|es,
Perry Lee Randa|l and Lewis Thomas. Also l filed a case against Le Moyne
Co||ege and a church named Bethany Baptist Church and another person
named_ Phi| Turner. | want this case against Le Moyne Co||ege and a church
named Bethany Baptist Church and another person named Phi| Turner erased
and removed off your record as well. l also want these lcases to be removed off
the internet as we||. `

l am writing because l want the cases removed and erased off your record -
against my relatives. l had filed United States Dlstrict Court papers on or around
January 22, 2011 and February 22, 2011 and February 28, 2011 against a few
relatives and |]ust want this case removed and erased from the United States
District Court. l had filed a case against Dianne Randa|l, Katrina Thomas,
Nykisha Gi|es, Shaaklra Gi|es, l’erry Lee Randa|| and Lewts Thomas. l also filed a
case against Le Moyne Co||ege and a church named Bethany Baptist Church
and another person named Phi| Turner. l want to drop this case and | want the
case to be removed and erased against my relatives and this church named
Bethany Baptist Church and another person named Phi| Turner.

Aiso | want this case removed off the internet. | did not know that the court puts
this type of information of the papers l filed to court on the internet. l want this
information and case removed and ott the internet as we||.

Enc|osed is the same fetter | wrote stating that these court papers be erased and
removed from t U ted States Dlstrict Court and erased and removed off the
t rnet_ as we||. ‘

 
      
   

Chandrea T. Agnew

 

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